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                    IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

 UNITED STATES OF AMERICA,                  §
                                            §
 V.                                         §         No. 3:16-cr-373-M (12)
                                            §
 SONYA NICOLE WOODSON,                      §
                                            §
              Defendant.                    §

           MEMORANDUM OPINION AND ORDER OF DETENTION

       In the Order Accepting Report and Recommendation of the United States

 Magistrate Judge Concerning Plea of Guilty, dated November 13, 2017, Chief Judge

 Barbara M. G. Lynn has referred this matter to the undersigned United States

 magistrate judge for a hearing to determine whether it has been clearly shown that

 there are exceptional circumstances under 18 U.S.C. § 3145(c) why Defendant Sonya

 Nicole Woodson should not be detained under 18 U.S.C. § 3143(a)(2) and whether it

 has been shown by clear and convincing evidence that Defendant Sonya Nicole

 Woodson is not likely to flee or pose a danger to any other person or the community

 if released under 18 U.S.C. § 3142(b) or (c). See Dkt. No. 508.

                                     Background

       Defendant is set for sentencing before Chief Judge Lynn on February 28, 2018.

 See Dkt. No. 500. “[W]hether a defendant should be released pending trial and whether

 a defendant should be released pending sentencing or appeal are distinct inquiries

 governed by different provisions of the Bail Reform Act.” United States v. Lee, 31 F.

 App’x 151, No. 01-30876, 2001 WL 1747632, at *1 (5th Cir. Dec. 4, 2001).

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       “The provisions of 18 U.S.C. § 3143 govern release pending sentencing or

 appeal.” FED. R. CRIM. P. 46(c). 18 U.S.C. § 3143(a)(2) dictates that the Court “shall

 order that a person who has been found guilty of an offense in a case described in

 subparagraph (A), (B), or (C) of subsection (f)(1) of section 3142 and is awaiting

 imposition or execution of sentence be detained unless – (A)(i) the judicial officer finds

 there is a substantial likelihood that a motion for acquittal or new trial will be granted;

 or (ii) an attorney for the Government has recommended that no sentence of

 imprisonment be imposed on the person; and (B) the judicial officer finds by clear and

 convincing evidence that the person is not likely to flee or pose a danger to any other

 person or the community.” 18 U.S.C. § 3143(a)(2).

       Defendant filed a motion for continued pretrial release in which she identifies

 the exceptional circumstances under 18 U.S.C. § 3145(c) that she contends justify her

 continued release post-conviction and in which she addresses whether she is likely to

 flee or pose a danger to any other person or the community if released under 18 U.S.C.

 § 3142(b) or (c) pending sentencing. See Dkt. No. 587.

       The Court held a hearing on December 7, 2017 on the matters referred by Chief

 Judge Lynn, at which Defendant appeared in person and through counsel and the

 government’s counsel appeared. See Dkt. No. 600.

                            Legal Standards and Analysis

       As a preliminary matter, Defendant is subject to mandatory detention under

 Section 3143(a)(2) because she has, on a guilty plea, now been adjudged guilty of a

 violation of 21 U.S.C. § 846. See Dkt. Nos. 364, 365, 393, & 508. That is “an offense in

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 a case described in subparagraph (A) ... of subsection (f)(1) of section 3142,” specifically,

 “an offense for which a maximum term of imprisonment of ten years or more is

 prescribed in the Controlled Substances Act (21 U.S.C. 801 et seq.).”

        Defendant therefore must be detained pursuant to 18 U.S.C. § 3143(a)(2) unless

 she meets the conditions of release set forth in Section 3143(a)(2) or 18 U.S.C. §

 3145(c). Release of “a person who has been found guilty of an offense in a case

 described in [18 U.S.C. § 3142(f)(1)(A)] and is awaiting imposition or execution of

 sentence” requires that “the judicial officer finds by clear and convincing evidence that

 the person is not likely to flee or pose a danger to any other person or the community.”

 18 U.S.C. § 3143(a)(2)(B); see also United States v. Morrison, 833 F.3d 491, 506 (5th

 Cir. 2016) (“The decision to detain Jacqueline after conviction is a common one because

 of the presumption in favor of detention that attaches to a convicted defendant. See 18

 U.S.C. § 3143.”); United States v. Lopez, 504 F. App’x 297, 298 (5th Cir. 2012) (“A

 defendant who has been convicted ‘shall ... be detained’ pending sentencing ‘unless the

 judicial officer finds by clear and convincing evidence that the person is not likely to

 flee or pose a danger to the safety of any other person or the community if released.’

 Thus, there is a presumption against release pending sentencing.” (footnotes omitted)).

 As the United States Court of Appeals for the Fifth Circuit has repeatedly recognized,

 Federal Rule of Criminal Procedure 46(c) and Section 3143(a)(1) impose a burden on

 a convicted defendant seeking release pending sentencing to show by clear and

 convincing evidence that she or he is not a flight risk or a danger to the community. See

 18 U.S.C. § 3143(a)(1); FED. R. CRIM. P. 46(c) (“The burden of establishing that the

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 defendant will not flee or pose a danger to any other person or to the community rests

 with the defendant.”); United States v. Lockett, 549 F. App’x 269 (mem.), No. 13-11097,

 2013 WL 6623771, at *1 (5th Cir. Dec. 17, 2013).

       Further, Defendant must meet the conditions of release set forth in Section

 3143(a)(2)(A) or 3145(c). Defendant cannot, and does not claim that she can, satisfy the

 Section 3143(a)(2)(A) showing that there is a substantial likelihood that a motion for

 acquittal or new trial will be granted or that an attorney for the government has

 recommended that no sentence of imprisonment be imposed on Defendant.

       18 U.S.C. § 3145(c) provides that “[a] person subject to detention pursuant to [18

 U.S.C. §] 3143(a)(2) or (b)(2), and who meets the conditions of release set forth in [18

 U.S.C. §] 3143(a)(1) or (b)(1), may be ordered released, under appropriate conditions,

 by the judicial officer, if it is clearly shown that there are exceptional reasons why such

 person’s detention would not be appropriate.” As reflected in the Report and

 Recommendation Concerning Plea of Guilty [Dkt. No. 393], Section 3145(c) provides

 an alternative basis for pre-sentencing release under “exceptional circumstances,” so

 long as Defendant also makes the required showing under Section 3143(a)(1) and

 3143(a)(2)(B) – that is, by clear and convincing evidence that Defendant is not likely

 to flee or pose a danger to the safety of any other person or the community if released

 under 18 U.S.C. § 3142(b) or 3142(c) pending sentencing. See United States v. Carr, 947

 F.2d 1239, 1240 (5th Cir. 1991).

       The Court finds that Defendant has made the required showing that she is not

 likely to flee or pose a danger to the safety of any other person or the community if

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 continued on release. As Defendant explains in her motion.

       Ms. Woodson is scheduled for sentencing on Wednesday, February 28,
       2018. She entered her plea of guilty to Count 1 of the Indictment on
       October 17, 2017. She has been on conditions of release from August 24,
       2016 to November 2017. Those conditions have been followed by the
       Defendant.
               Ms. Woodson has acknowledged her guilt and knows that she is
       facing a sentence of incarceration. Counsel is respectfully asking the
       Court to Continue Conditions of Release and allow Ms. Woodson to return
       to her home in Dallas, Texas until sentencing. In support of this request,
       counsel would direct the Court to the following factors in determining Ms.
       Woodson’s release pending sentencing. First, Ms. Woodson has gainful
       employment. She works for Aries Shuttle at DFW Airport in a
       supervisory role on the morning shift. Second, Ms. Woodson has worked
       at Aries since April 2014. She has been steadily employed for the last 13+
       years. Allowing her to continue to work will help her support her family
       and give them some financial means when she begins her sentence. Ms.
       Woodson has one child who is 11 years old for whom she is the primary
       caregiver. She supports him not only through her work but also with
       insurance. She is very active in his life. Third, Ms. Woodson’s
       grandmother’s health is such that she is no longer able to drive. Ms.
       Woodson takes care of her when needed and transports her to any
       appointments or errands that are necessary. Fourth, Ms. Woodson has
       multiple grandchildren who live locally. She keeps her grandchildren on
       Fridays and Saturdays while their parents are working. It is apparent
       that Ms. Woodson is an integral part of her immediate family members’
       lives. Finally, this Court can put in place conditions of release that meet
       the requirements of 18 U.S.C. §§ 3141 and 3142.

 Dkt. 587 at 1-2.

       The issue of Defendant’s presentencing release therefore turns on whether “it

 is clearly shown that there are exceptional reasons why [Defendant’s] detention

 [pending sentencing] would not be appropriate.” 18 U.S.C. § 3145(c). In support of that

 showing, Defendants asserts that her “[c]ounsel has conferred with the Assistant

 United States Attorney in this case, and she is not opposed to Ms. Woodson continuing

 on Pre-Trial Release” and “that a combination of factors set out [above] give this Court

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 support for finding exceptional circumstances exist to allow continued release.” Dkt.

 No. 587 at 3. But,

        [i]f the Court decides to not continue Ms. Woodson on Pre-Trial Release
        or set new conditions of release, counsel asks that, in the Alternative, the
        Court allow Ms. Woodson to return home for a period of time to get her
        affairs in order. This Court has the authority and may “by subsequent
        order, permit the temporary release of the person, in the custody of a
        United States Marshal or another appropriate person, to the extent that
        the judicial officer determines such release to be necessary for
        preparation of the person's defense or for another compelling reason.” 18
        U.S.C.A. § 3142. In light of her pending incarceration and her current
        responsibilities, a period of time to wrap up her affairs with and for her
        family is reasonable. We believe that Ms. Woodson is not a threat to
        society, nor is she likely to flee based on her current family situation and
        her gainful employment.

 Id. at 3.

        The United States Court of Appeals for the Fifth Circuit has explained that the

 “exceptional reasons” provision “was added to § 3145(c) with the mandatory detention

 provisions of § 3143(a)(2) and (b)(2) and was apparently designed to provide an avenue

 for exceptional discretionary relief from those provisions.” Carr, 947 F.2d at 1240. The

 United States Court of Appeals for the Second Circuit offers a working definition of

 “exceptional reasons”: “a unique combination of circumstances giving rise to situations

 that are out of the ordinary.” United States v. DiSomma, 951 F.2d 494, 497 (2d Cir.

 1991). That court also explained that, in assessing reasons proffered as the basis for

 release under Section 3145(c), “a case by case evaluation is essential.” Id. The United

 States Court of Appeals for the Eighth Circuit has similarly explained that

 “‘exceptional’ means ‘clearly out of the ordinary, uncommon, or rare.’” United States v.

 Little, 485 F.3d 1210, 1211 (8th Cir. 2007) (citation omitted). One court has explained

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 that, “to avoid emasculating the mandatory detention statute[,] ‘exceptional reasons

 review is limited to determining whether remanding the defendant to custody until

 sentencing would be tantamount to subjecting individuals to unjust detention.’” United

 States v. Thomas, No. 10-cr-229, 2010 WL 3323805, at *2 (D.N.J. Aug. 20, 2010)

 (quoting United States v. Christman, 712 F. Supp. 2d 651, 655 (E.D. Ky. 2010)).

       District courts in this circuit have noted a variety of circumstances that do not

 rise to the level of exceptional. See United States v. Cyrus, No. 10-0228-04, 2010 WL

 5437247, at *1-*2 (W.D. La. Dec. 27, 2010) (need to “secure his home and attend to

 other personal matters” were not exceptional reasons justifying release pending

 sentencing); United States v. Douglas, 824 F. Supp. 98, 99-100 (N.D. Tex. 1993)

 (defendant’s cooperation with the government that subjected him to potential

 retaliation by co-defendants and his attempts at rehabilitation did not constitute

 exceptional reasons); United States v. Dempsey, No. 91-098, 1991 WL 255382, at *1-*2

 (E.D. La. Nov. 19, 1991) (poor health, emotional and mental problems, and need to

 properly prepare his business and his family for his long absence were not exceptional

 circumstances); United States v. Scott, No. 1:95-CR-80-1, 1995 WL 723752, at *1-*2

 (E.D. Tex. Nov. 22, 1995) (need to assist parent was a purely personal reason that was

 no more exceptional than those routinely rejected by courts); see also United States v.

 Landry, No. CR 15-32-JWD-SCR, 2015 WL 5202458, at *2-*4 (M.D. La. Sept. 4, 2015);

 United States v. Posada, 109 F. Supp. 3d 911, 912-16 (W.D. Tex. 2015).



       The facts that Defendant urges as exceptional circumstances, including her

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 compliance with all of her conditions of pretrial release, are certainly commendable.

 But the Court determines – as have many other courts when presented with similar

 arguments for presentencing release – that Defendant’s proffered reasons for

 continuing her release are not, in and of themselves or taken together, a unique

 combination of circumstances giving rise to a situation that is out of the ordinary.

        Under Section 3145(c), a defendant who is compliant with her release conditions

 and doing everything that she should is – however commendable – not so out of the

 ordinary and, in that sense, “exceptional” among defendants who are on release at the

 time that they are found guilty as to justify an exception to Section 3142(a)(2)’s rule of

 mandatory detention. See generally United States v. Bernard, No. 1:12-cr-00022-JAW-

 02, 2013 WL 145582, at *2 (D. Me. Jan. 14, 2013) (“One way of thinking about

 compliance with the terms of pretrial release and a lack of significant criminal history

 is that they make out a necessary but not sufficient showing for release under §

 3145(c).”).

        And many other courts have concluded that most proffered reasons for

 continuing release – including the reasons that Defendant offers here – are not, in and

 of themselves or taken together, a unique combination of circumstances giving rise to

 a situation that is out of the ordinary. See United States v. Velarde, 555 F. App’x 840,

 841 (10th Cir. 2014) (noting that “‘the cases establish that mere personal reasons,

 including caring for a family or gainful employment, are not ‘exceptional’‘” (quoting

 United States v. Miller, 568 F. Supp. 2d 764, 774 (E.D. Ky. 2008) (collecting cases)));

 United States v. Nickell, 512 F. App’x 660, 661 (8th Cir. 2013) (finding that a

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 defendant’s taking care of his children and remaining gainfully employed did not

 constitute exceptional reasons); United States v. Mahoney, 627 F.3d 705, 706 (8th Cir.

 2010) (“It is well settled that compliance with the terms of pretrial release is

 commendable but does not justify release under section 3145(c).”); Little, 485 F.3d at

 1211 (“It is not exceptional to expect every defendant to timely appear in court and to

 obey the court’s order concerning pretrial conditions of release.”); United States v.

 Larue, 478 F.3d 924, 925 (8th Cir. 2007) (concluding that a defendant’s release pending

 sentencing was improper because “compliance with the terms of his pretrial release,

 his lack of a criminal record, his payment of child support, and his ongoing employment

 are commendable, but they are not are not clearly out of the ordinary, uncommon, or

 rare” (citation and internal quotation marks omitted)); United States v. Lea, 360 F.3d

 401, 403-04 (2d Cir. 2004) (“There is nothing ‘exceptional about going to school, being

 employed, or being a first-time offender, either separately or in combination.”)); United

 States v. Mostrom, 11 F.3d 93, 95 (8th Cir. 1993) (holding that “compliance with

 pretrial supervision and gainful employment up until the date of sentencing are not,

 in and of themselves, ‘exceptional reasons why such person’s detention would not be

 appropriate’”).1


       1
         See also Posada, 109 F. Supp. 3d at 915-16 (“Similarly, none of Posada’s
 reasons rise to an ‘exceptional’ level. Notably, the question presented is whether
 there are any ‘exceptional reasons’ in the case which would permit Posada to escape
 the otherwise mandatory requirement of § 3143(a)(2) – that he be immediately
 confined following sentencing for the qualifying offense he committed. It is his
 burden to show that ‘exceptional reasons’ exist why his detention would be
 inappropriate, not why his release would be appropriate. Each of his proffered
 reasons may, on its own, be an appropriate reason for release, but none is an

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                                     Conclusion

       Accordingly, the Court finds that it has not been clearly shown that there are

 exceptional circumstances under 18 U.S.C. § 3145(c) why Defendant Sonya Nicole

 Woodson should not be detained under 18 U.S.C. § 3143(a)(2), and so Defendant Sonya

 Nicole Woodson will be detained pending sentencing.

       It is therefore ORDERED that Defendant Sonya Nicole Woodson be committed

 to the custody of the Attorney General and United States Marshal for further

 proceedings. As ordered at the hearing, Defendant Sonya Nicole Woodson must report

 to and surrender at the U.S. Marshal’s Service at 1100 Commerce Street, 16th Floor,

 Dallas, Texas 75242 on Monday, December 18, 2017 at 12:00 p.m. It is ORDERED


 ‘exceptional reason’ for why his detention would be inappropriate given the
 statutory mandate. Each reason involves a purely personal matter that
 individually, and in combination, is no more out of the ordinary and no more unique
 than those of other persons subject to detention. It is a natural, if unfortunate,
 byproduct of the criminal justice system that one’s personal affairs will be disrupted
 and that others beyond the defendant, most likely family, will feel the effects of his
 incarceration. See United States v. Scott, No. 1:95-CR-80-l, 1995 WL 723752, at *2
 (E.D. Tex. Nov. 22, 1995) (finding that the need to assist an infirm parent did not
 demonstrate an ‘exceptional reason’ because ‘a defendant’s incarceration regularly
 creates difficulties for him and his family’ (quoting United States v. Mahabir, 858 F.
 Supp. 504, 508 (D. Md.1994))). However, this does not alter the personal nature of
 those effects and disruptions. That the government does not oppose the relief sought
 and that Posada has complied with all of the terms of his pretrial release are also
 unremarkable and unexceptional reasons. In regards to the latter, the Court
 expects all individuals who avail themselves of pretrial release to comply with the
 conditions of their bond. That Posada has done so is commendable, but it is not an
 exceptional reason to delay his detention. In fact, Posada has already enjoyed the
 fruits of his labor by remaining out on bond while his case was pending. As to the
 former, like the other reasons Posada advances, the government’s non-opposition is
 a reason why release would be appropriate, but not a reason why his immediate
 detention would be inappropriate in light of Congress’ explicit preference for
 immediate detention.”).

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 that Defendant Sonya Nicole Woodson, while being so held, be afforded reasonable

 opportunity for private consultation with counsel.

       SO ORDERED.

       DATED: December 7, 2017



                                           _________________________________________
                                           DAVID L. HORAN
                                           UNITED STATES MAGISTRATE JUDGE




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